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                  EXHIBIT 4
Excerpts from Deposition of Robert Gabriel Sterling
                       October 12, 2022
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1                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
2                           ATLANTA DIVISION
3
4
       Donna Curling, et al.,
5
                           Plaintiffs,
6                                                   CIVIL ACTION FILE
                     vs.
7                                                   NO. 1:17-cv-02989-AT
       Brad Raffensberger, et
8      al.,
9                    Defendants.
       ~~~~~~~~~~~~~~~~~~~~~~~~~~
10
11
12
                        VIDEO 30(b)(6) DEPOSITION OF
13                          SECRETARY OF STATE
                                  THROUGH
14                        ROBERT GABRIEL STERLING
15
16                               October 12, 2022
17                                  9:26 a.m.
18
19
                     Suite 3250, One Atlantic Center
20                       1201 W. Peachtree Street
                             Atlanta, Georgia
21
22
23
24
                       S. Julie Friedman, CCR-B-1476
25

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19        Scott Bridwell, Videographer
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1    see this?
2                     No.
3                     Are you aware of anything along these
4    lines?
5                     No.
6                     Where do you go at that point on those
7    fronts?
8           Q.        Well, that's a great question, Mr.
9    Sterling.        Did --
10          A.        Oh, one of -- one of --
11          Q.        You were dealing --
12          A.        -- the things --
13          Q.        Well, let me answer your question.
14          A.        Go ahead.
15          Q.        You --     You were dealing with a county
16   that you had already found was unreliable where you
17   had an open investigation, a rogue county that
18   included members of the Coffee County Election Board
19   like Eric Chaney, right?
20          A.        Yes.
21          Q.        Okay.     So the Secretary's Office conducted
22   an investigation in May of 2021 relying, as I
23   understand it, largely, if not entirely on feedback
24   from a county where it already knew that members of
25   the Coffee County Election Board that were still

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1    there were not reliable people.                    That's how you
2    reached the conclusion that this didn't happen was
3    you -- you asked the County, and the County that you
4    already said you couldn't trust.
5           A.        I didn't say --
6           Q.        And they said we didn't do it.
7           A.        Misty was the one we said we couldn't
8    definitely trust at all, because she had been
9    misleading already, obviously.
10                    The secondary part of this, too, if I
11   remember correctly, it was discussed -- and this is
12   one of those things where it's not within a report;
13   this just kind of came up -- that Mr. Barnes was
14   going to try to pull the security tapes.
15   Unfortunately, this is where a left hand and a right
16   hand didn't seem to know which -- what each other
17   were doing.
18                    He went to ask for the tapes around that
19   period of time.           They were no longer in the security
20   system on that side.              Unbeknownst to him, as I
21   understand it, Misty Hampton had done an ORR for
22   those tapes, I guess, to try to prove her innocence
23   on the question of the hourly timing of her --                          I
24   don't know.         I can't -- as to why she did a ORR at
25   that period of time.              But they existed in another

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1    system that Mr. Blanchard -- sorry -- that Mr.
2    Barnes was unaware of, so we knew --
3                      Steps had been taken, and we discussed
4    that.        We had no reason to believe Mr. Barnes was
5    unreliable, 'cause he was new; and the county
6    attorney, like we said, had seemed to want to be
7    cooperative to get to that point as well.
8                      So Misty, from the point of the
9    Secretary's Office, seemed to be the problem child
10   more than anything else; and she was sort of leading
11   the --        We had no reason at that point to have any
12   issues around potentially the board, 'cause she's
13   going to be leaving the board when she did that
14   videotape; and they were all, hmm, yes.                       We get it,
15   but there was no reason to think that they were going
16   to mislead on those fronts.                 Everybody --
17           Q.        Didn't you --         Didn't you know that the
18   video that was put up on YouTube was actually
19   authorized by the board?
20                     Eric Chaney is there in the video.
21           A.        Yes.    But my point is:           In a normal
22   situation, you don't assume that every single person
23   is not going to tell the truth.                   I mean --
24           Q.        Except it --
25           A.        -- that'd be a conspiracy that's a little

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12          Q.        Okay.     The Secretary's Office is aware
13   that every county in this -- that every county
14   election office in the state has video surveillance,
15   right?
16                    Let me --       Let me ask a better question.
17   You were aware that this county elections office has
18   video surveillance, right?
19          A.        Yes.
20          Q.        Okay.     Why didn't you ask for that?
21   Wouldn't that be step one?
22          A.        I believe I just explained to you that
23   James Barnes went to their --                 As I understand it was
24   explained to us --            And this is verbal.            There's no
25   unfortunate --           There's no e-mail about this.

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1                     He went to them and said, well, we did --
2    That's all been deleted by now.
3                     He was unaware that Misty Hampton had done
4    an ORR.       Because like I said, the left hand and right
5    hand didn't know what they were doing.
6                     So even if we had gone to ask them, we
7    would have gone through James Barnes, who would have
8    gone to the County and perhaps gone to the county
9    attorney; but that's a hypothetical at this point,
10   because he said it doesn't exist.
11          Q.        Wait.     But you guys are the -- are --
12   are --
13                    You're the Secretary's Office.                 You have
14   law enforcement authority to conduct an investigation
15   into election security breaches, right?
16          A.        Potential ones, yes.
17          Q.        Okay.     Why in the world would you rely on
18   James Barnes, who was brand new to the office,
19   instead of sending your investigator yourself to find
20   out whether that surveillance video existed?
21                    Wouldn't that be the normal course of a --
22   of a -- of a sound investigation?
23          A.        If the person who --
24                    MR. TYSON:       Object to form.
25                    THE WITNESS:        If the person who reported

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1            it is dealing with their own internal people and
2            says the stuff you need doesn't exist, no.
3            Normally, you would not send somebody at that
4            point.      No.     That doesn't make any sense.
5                      We're going to not take your -- not --
6            You're new to this.             You reported this.           Now we
7            think you're going to try to cover it up, and
8            we're going to go deeper into it?
9            Q.        No, no.      I'm not suggesting that.              I --
10    I'm --      I'm asking a very different question.
11                     James Barnes is brand new to the office at
12    this point.        He's been there about five to six weeks,
13    right?
14           A.        Correct.
15           Q.        Okay.     Instead of relying on someone brand
16    new to the office, no background there whatsoever,
17    why not send your investigator down to speak with the
18    members of the election board with people like Tracie
19    Vickers and others who -- who have at lot more
20    history and a lot more background on what might have
21    happened?
22           A.        Because the gentleman who reported it
23    says, I've looked.            I'm asking this.           Nobody's seen
24    anything.        We have no evidence.            We've asked for
25    videotapes.        They don't exist.

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1                      At that point what else are they going to
2     do, if those are the point?                So --
3            Q.        What we did --
4            A.        -- again, knowing --
5            Q.        -- ask for the video, which we did.
6                      MR. TYSON:       Let him answer the question,
7            please.
8                      THE WITNESS:        Wait.      David --
9            Q.        (By Mr. Cross)         Well, you asked --
10           A.        We --
11           Q.        -- a question.
12           A.        We asked a question for the videos.                    They
13    said it didn't exist, because it wasn't in that
14    particular system.            It wouldn't occur to most people
15    to think if the security people in charge of this
16    tell us it doesn't exist, it's going to exist
17    somewhere else because a random person who's been
18    fired or resigned, due to be fired, did an ORR.                          It
19    was a lucky for us and for y'all and unfortunate
20    thing for Misty now, because this is actually proof
21    that she did things that were not -- that were
22    untoward.
23                     You can look back with perfect vision,
24    20/20, in the rear view mirror.                  I get that.
25                     But the situation we had is we had tons of

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1     these kinds of claims everywhere; and, again, we were
2     trying to get into --              Actually, it's a different
3     time.        I apologize.
4                       This looked like another one of those many
5     claims that there was nothing there, and somebody
6     might have tried to do something, but there's no
7     evidence that was coming to the surface that would
8     rise to that point.
9                       And we had the videotape, and we had them
10    claiming they couldn't do certification.                       We sent the
11    chief of investigations in there, 'cause there was
12    actual stuff we could that was wrong.
13
14
15
16
17                      You don't then expend resources on things
18    where it looks like this is a dead end.                       That's not
19    what you do and --
20            Q.        In a --      In a county that you already have
21    identified through an open investigation was not a
22    reliable county.            A county that literally had held up
23    the presidential election, because they refused to
24    certify election results, you -- you -- you guys
25    thought that that was a reliable county to just

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1     simply say, well, they say it didn't happen; and they
2     don't have video so that's the end of that?
3            A.        It's not --
4                      MR. TYSON:       Object to form.
5                      THE WITNESS:        It's not they said it didn't
6            that.      We handed to our investigators.                  The
7            investigators, who are the law enforcement
8            people, make those decisions; and they basically
9            said there's nothing there.                 We're moving on to
10           the next thing.
11                     I mean, it's not like, again, with
12           hindsight being 20-20, yes.                 You should go in to
13           go deeper on some of those things; but if we had
14           to spend resources on every single one of these
15           claims in a gajillion (ph.) ways in this
16           state --
17                     I mean, I'm going to give you an example
18           just to put it in perspective for everything.
19           There was a claim of pristine ballots in Fulton
20           County.       I think we're all aware of that claim.
21           It was supposed to be in a particular batch.                      We
22           had --      We sent two investigators down to that
23           batch.      They went through all of them.                  I think
24           it was 20 man-hours, and they came back and said
25           there's nothing there.

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1            Q.        Right.     Mr.     --
2            A.        On May of 2021, he was just wrong; and I
3     said this interview, basically, everything in it is
4     conflated and -- and just incorrect, and that's why I
5     was so frustrated with the interview itself.
6            Q.        Okay.     So, remember, you're testifying
7     today not as you --
8            A.        Uh-huh.
9            Q.        -- but as Secretary's Office --
10           A.        Right.
11           Q.        -- right?
12                     Okay.
13           A.        I was answering your question about what
14    Mike Hassinger and I knew specifically about that.
15           Q.        I --     I get that now.
16           A.        Okay.
17           Q.        So what I'm saying is, it is a fact that
18    the Secretary's Office, multiple individuals, from
19    Chris Harvey, to Michael Barnes, to Frances Watson,
20    to Pamela Jones, to Josh Blanchard, all of those
21    individuals were aware that the Secretary's Office
22    was investigating potential unauthorized access by
23    Cyber Ninjas to the Georgia voting system in Coffee
24    County in May of 2021.              Yes?
25                     MR. TYSON:       Object to form.

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1                       THE WITNESS:        Yes.     In the specific way
2             you put that.
3                       Now by this point, they're two separate
4             things.       Because at this point, it was like we
5             now understand that with given the videotapes
6             and everything.           I can't remember the date of
7             that.
8                       But we really kicked it up into --                     Okay.
9             Once we saw that something had happened and that
10            was in July, that was like a new --                    Not new
11            investigation; but, again a new phase of the
12            investigation.          That's what I was referring to
13            as now we've -- we've real --                  We've handed to
14            GBI.      We do those items, and that's kind of the
15            difference between those things.
16                      I mean, there is a -- obviously, a
17            timeline, and we'll probably get into some of
18            those things.
19                      But that interview was just simply wrong.
20            He was incorrect --
21            Q.        (By Mr. Cross)         Okay.
22            A.        -- when he made those statements, and he
23    didn't have a chance to get briefed up, because he
24    was also surprised, because he wasn't supposed to
25    be --        It was supposed to be a action feel good kind

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1     of thing.
2            Q.        Okay.     So come back to Exhibit 7, the
3     Frances Watson --
4            A.        Yes, sir.
5            Q.        -- e-mail thread.           We do not have from the
6     State that we've seen any further communications,
7     e-mails, documents of any type regarding this
8     investigation beyond Miss Watson's May 11th e-mail.
9            A.        Correct.
10           Q.        Okay.     So do I understand correctly that
11    the investigation into the Cyber Ninjas' potential
12    access in Coffee County, that that ended or paused?
13                     It --     It didn't go any -- any further
14    than what's reflected in Exhibit 7, because the
15    feedback from Mr. Barnes was we've not found any
16    indication of an unauthorized access?
17           A.        That, plus the --           He was going to go to
18    the IT and see.          Since we never heard back, there
19    was, I think, an assumption made of, well, we didn't
20    find anything there; and I know there was a
21    conversation.         Of course, my understanding of the
22    conversation, which it will be --
23                     We asked for videos, and the security team
24    says they don't have them for this period of time;
25    and, again, that was the right hand, left hand thing,

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1     not knowing what they were doing.
2            Q.        So when a representative of the
3     Secretary's Office told 11 Alive, the local news
4     station, that the Office did not know about or begin
5     investigating Coffee County until -- until July of
6     2022, that's -- that's not an accurate statement,
7     right, 'cause the --
8            A.        David --
9            Q.        -- Office itself was investigating this in
10    May of 2021.
11           A.        Two separate investigations based on two
12    different sets of information.
13           Q.        I get that --         I get it.
14           A.        So you're choosing to put them together.
15    We're viewing it as two separate entities.                       This is
16    a --    It's a different way of looking at it, I
17    suppose.
18                     You're right.         Our office did look at it.
19    There was nothing to pursue that they could see at
20    that time from the evidence they had as a
21    professional, POST-certified law enforcement
22    investigators.
23                     Now we have extra information that came,
24    because we had Mr. Persinger able to get into the
25    system.       We see, yes, there actually was an outside

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1     so it would have been the same.                  Within a week or
2     two, I think, of that's when we -- when it was all
3     produced.
4            Q.        Right.     Ryan --
5            A.        He was the one, though, who -- who said
6     yes.    Let's open something on this.
7            Q.        Yeah.     Mr. Germany called for an
8     investigation into this in March of that year, right?
9            A.        Correct.      And it --        Like I said, I don't
10    know if it predated us getting the full -- full audio
11    or postdated it, but it was --                  They were all
12    within --
13           Q.        Sure.
14           A.        -- you know, a week or two of each other,
15    I believe.
16           Q.        Okay.     So now we're in a timeframe where
17    you've got the investigation -- we can say with a
18    little "i," if you want -- from May of 2021 involving
19    Cyber Ninjas.
20           A.        Uh-huh.
21           Q.        You've now got the call where Mr. Hall
22    says they imaged everything.
23           A.        Uh-huh.
24           Q.        You've got the EMS server and the ICC in
25    your possession.           You've now got an investigation

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1     opened into these allegations.
2                      Why didn't the Secretary's Office at that
3     point obtain the surveillance video that we, the
4     Plaintiffs, later had to obtain months later?                           Why
5     did it --        Why did we have to get that?
6            A.        I think, step one, we had decided kind of
7     internally was we wanted to get into the server first
8     to see what time this all -- so we could go back and
9     have binary questions we could ask the individuals.
10                     Bob Guessum (ph.)?
11                     MR. CROSS:       Bruce, you mean?
12                     THE WITNESS:        Bruce.      Sorry.
13           Q.        (By Mr. Cross)         Go ahead.        Go.
14           A.        I have a problem.           When I hear people
15    talking, I tend to try to listen; and it throws me
16    off.
17                     MR. BROWN:       Okay.
18                     THE WITNESS:        My problem not yours.
19                     So Ryan and the chief investigator said
20           let's get into the server first before we start
21           trying to go down, start interviewing people who
22           we know.       Like Misty testified.              You're not
23           going to get good stuff out of them, so let's
24           get --      Let's get the actual evidence first and
25           see if something happened, so we start trying to

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1            get into that first.
2                    And, again, I don't know how widespread it
3            was known, 'cause this all kind of runs together
4            timelinewise.        There have been discussions about
5            them trying to get that videotape before, and it
6            didn't exist, according to the people we had
7            talked to, because it was in a different system
8            that those people were not aware of, and the
9            people we would have talked to --
10                   Now if it'd gone to the county attorney
11           maybe; but, again, hindsight being 20-20.
12                   So we wanted to see, try to get in the
13           system.     We had a hard time getting in the
14           system, and, you know, we have --                  We're doing
15           many other things.          So we --
16                   Again, a representative from Dominion came
17           down to try to get in.            They couldn't get in, so
18           they sent somebody else, I believe, in the
19           middle of April.         They couldn't get in, so we're
20           trying to get through, through May.
21                   And like I said, May, June, finally, okay.
22           This isn't working.           We've got to try find a way
23           to get into this thing, so we can yes or no know
24           what happened on that front.
25                   And, again, our gut reaction is it

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1            Administrative Services and the slow pay on some
2            of things for Mr. Persinger, so we were a bit
3            concerned.      Will he be able to do it or not.
4            Not that they were intentionally doing it.                     It's
5            just state government.            They pay slow sometimes.
6                     So they were discussing about doing that,
7            and I think --        I don't know.          I wasn't involved
8            in any direct discussions, 'cause he was with
9            the -- with the attorneys.               I know that --
10                    Like I said, I think the -- the week of
11           July 4th, before July 4th was when he took
12           possession of it; and by the following week, he
13           had --     That's when we discovered that that had
14           happened.
15                    So the videotape, obviously, since I think
16           it was already been told to us it wasn't there,
17           we're not going to go chase something --
18           double-check on it, I guess would be, for lack
19           of a better word for that.
20                    And we also had some turnover, and so
21           maybe Sara Koth might not have been aware of
22           that on the front end.            I --     I couldn't say for
23           certain.     This didn't occur on that point.
24                    And I think the only reason that
25           particular video camera was there was for the

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1                           C E R T I F I C A T E
2
3
4     STATE OF GEORGIA:
5     COUNTY OF FULTON:
6
7                    I hereby certify the foregoing transcript
8            was taken down, as stated in the caption, and
9            the questions and answers thereto were reduced
10           to typewriting under my direction; that the
11           foregoing pages 1 through 434 represent a true,
12           complete, and correct transcript of the evidence
13           given upon said hearing, and I further certify
14           that I am not of kin or counsel to the parties
15           in the case; am not in the regular employ of
16           counsel for any of said parties; nor am I in
17           anywise interested in the result of said case.
18                   This, the 17th day of October, 2022.
19
20
                                        S. JULIE FRIEDMAN, CCR-B-1476
21
22
23
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25

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